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                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAI‘I


  ST. PAUL FIRE AND MARINE                       Case No. 20-cv-00288-DKW-WRP
  INSURANCE COMPANY, et al.,
                                                 ORDER GRANTING MOTION
                Plaintiffs,                      FOR PARTIAL SUMMARY
                                                 JUDGMENT RE: INSURERS’
        v.                                       DEMAND FOR
                                                 REIMBURSEMENT OF
  BODELL CONSTRUCTION COMPANY,                   DEFENSE FEES AND COSTS
  et al.,                                        AND SUBSTANTIVE JOINDER
                                                 IN SAME
                Defendants.



        On November 16, 2023, the Court instructed the parties to file a joint status

  report on a pending motion for partial summary judgment and substantive joinder in

  the same, following the answering of certified questions by the Hawai‘i Supreme

  Court. Dkt. No. 366. As the Court explained in the foregoing Order, on

  November 14, 2023, the Hawai‘i Supreme Court determined that “[a]n insurer may

  not seek reimbursement from an insured for defending claims when an insurance

  policy contains no express provision for reimbursement.” Id. at 2 (citing Dkt. No.

  365 at 11).

        On November 30, 2023, the parties filed the joint status report required by the

  November 16, 2023 Order. Dkt. No. 368. Therein, the parties agreed that

  Defendant Bodell Construction Company’s (Bodell) motion for partial summary
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  judgment (“motion”), Dkt. No. 176, and Defendant Sunstone Realty Partners X

  LLC’s (Sunstone) substantive joinder in the same, Dkt. No. 179, should be granted

  in light of the Hawai‘i Supreme Court’s November 14, 2023 decision. Dkt. No. 368

  at 4.

          The Court agrees with the parties. Specifically, pursuant to Federal Rule of

  Civil Procedure 56(a), a party is entitled to summary judgment “if the movant shows

  that there is no genuine dispute as to any material fact and the movant is entitled to

  judgment as a matter of law.” Here, the parties’ dispute over the motion and

  substantive joinder concerned a question of law: whether an insurer is entitled to

  reimbursement of fees and costs in defending claims? The Hawai‘i Supreme Court

  answered that question “No” when, like here, “an insurance policy contains no

  express provision for reimbursement.” Dkt. No. 365 at 2, 11. Therefore, as the

  parties agree, Bodell and Sunstone are entitled to judgment as a matter of law on that

  question.

          Accordingly, in light of the Hawai‘i Supreme Court’s November 14, 2023

  decision, Dkt. No. 365, and the parties’ joint status report, Dkt. No. 368, the Court

  GRANTS the motion for partial summary judgment, Dkt. No. 176, and the

  substantive joinder in the same, Dkt. No. 179. As a result, Defendants Bodell and

  Sunstone are entitled to judgment as a matter of law on Count III of the Complaint,

  Dkt. No. 1, for equitable reimbursement of defense fees and costs. Defendant


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  Bodell is also entitled to judgment as a matter of law on Count III of its First

  Amended Counterclaim, Dkt. No. 29.

        Apart from the relief set forth in this Order, in all other respects, the stay

  entered in this case, Dkt. No. 352, shall remain in effect.

        IT IS SO ORDERED.

        Dated: December 18, 2023 at Honolulu, Hawai‘i.




                                     ___________________________
                                     Derrick K. Watson
                                     Chief United States District Judge




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